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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 EVELIA RODRIGUEZ, ERIKKA WILSON,
 A.N., a minor, AIDEN GUNDLACH, J.V., a
 minor, ZACHARY BUCKUS, and RAYMON
 MARINES, individually and on behalf of
 all others similarly situated,

       Plaintiffs,
                                               Case No. 23 CV 4953
       v.
                                               Hon. Georgia N. Alexakis
 BYTEDANCE, INC., BEIJING DOUYIN
 INFORMATION    SERVICE  CO.    LTD.,
 BYTEDANCE LTD., BYTEDANCE PTE. LTD.,
 BEIJING BYTEDANCE TECHNOLOGY CO.
 LTD., and TIKTOK, INC.,

       Defendants.

                     MEMORANDUM OPINION AND ORDER

      Plaintiffs Evelia Rodriguez, Erikka Wilson, A.N., Aiden Gundlach, Zachary

Buckus, Raymon Marines, and J.V. bring this suit individually and on behalf of a

putative class against defendant ByteDance, Ltd. (“ByteDance”) and related

companies. They allege that defendants violated privacy statutes by collecting their

data from a video-editing application called CapCut. Defendants have moved to

dismiss the suit on all counts pursuant to Federal Rule of Civil Procedure 12(b)(6).

[30]. The Court grants in part and denies in part defendants’ motion to dismiss.

                                  LEGAL STANDARD

      A complaint must contain a “short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A complaint need only
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contain factual allegations that, accepted as true, are sufficient to “state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible “when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S.

at 556). The allegations “must be enough to raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555.

      At the pleading stage, a court must “accept all well-pleaded factual allegations

as true and view them in the light most favorable to the plaintiff.” Lavalais v. Vill. of

Melrose Park, 734 F.3d 629, 632 (7th Cir. 2013). But “allegations in the form of legal

conclusions are insufficient.” McReynolds v. Merrill Lynch & Co., 694 F.3d 873, 885

(7th Cir. 2012). “Threadbare recitals of the elements of a cause of action, supported

by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.

                                     BACKGROUND

      For purposes of defendants’ motion to dismiss, the Court accepts as true

plaintiffs’ allegations in their amended class action complaint. [22]. See Felland v.

Clifton, 682 F.3d 665, 672 (7th Cir. 2012).

   A. The CapCut App

      CapCut is a video-editing application that allows users to create, edit, and

customize videos which are often posted on social media platforms such as Instagram

and TikTok. [22] ¶ 1. Within the app, users can edit videos with various templates,

filters, visual effects, and music. Id. Although the app is generally free, users may



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obtain access to additional features by paying a monthly or yearly subscription. Id.

¶ 66. CapCut has become very popular since it was first introduced to the United

States in 2020. It is the fourth most downloaded app in the world and has more than

200 million monthly active users. Id. ¶ 2.

       CapCut was developed and is run by ByteDance, a Chinese technology

company. Id. ¶¶ 43, 48. ByteDance also owns TikTok, one of the world’s fastest-

growing social media platforms. Id. ¶¶ 46–47. In the period leading up to this suit,

TikTok reported 150 million monthly active users in the United States. Id. ¶ 47.

ByteDance directly owns CapCut, but TikTok Inc. is a California corporation and a

wholly owned subsidiary of TikTok, LLC, which, in turn, is a wholly owned subsidiary

of ByteDance. Id. ¶ 29.1

   B. Alleged Privacy Violations

       According to plaintiffs, “the CapCut app collects a broad array of private and

personally identifiable data and content from which Defendants unjustly profit.” [22]

¶ 100. This includes registration information, phone and social network contacts,

identifier and location information, photos and videos, audio data, product

integration and usage data, crash data, dump data, performance data, and




1 With respect to the remaining named defendants: Beijing Douyin Information Service Co.

Ltd. (previously named Beijing ByteDance Technology Co. Ltd.) and ByteDance, Inc. are
wholly owned subsidiaries of ByteDance. [22] ¶¶ 23, 24, 26. ByteDance Pte. Ltd. is a
Singapore private limited liability company. Id. ¶ 28. Plaintiffs allege that none of the
corporate defendants “function as separate and independent … entities”; that ByteDance
tightly controls TikTok and its other affiliates; and that these entities all “constitute a single
enterprise with a unity of interest.” Id. ¶¶ 30, 35.
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diagnostics data. Id. ¶ 103. Plaintiffs also allege that defendants collect face geometry

scans and voiceprints from users. Id. ¶ 303.

       In plaintiffs’ view, defendants “have a history of violating the privacy rights of

users of their apps” through questionable data-collection and data-sharing practices.

Id. ¶¶ 74–75. Although many of the sources plaintiffs cite relate to TikTok’s data

practices, plaintiffs contend that “the CapCut app is no less of a threat to the privacy

of its users.” Id. ¶ 93. Most prominently, plaintiffs allege that ByteDance user data is

made available to the Chinese Communist Party (“CCP”) and the Chinese

government, thus posing “significant national security concerns.” Id. ¶¶ 78–79; see

also ¶¶ 83–84. According to plaintiffs, “Chinese companies have a legal obligation to

cooperate with the Chinese government and provide the government with user data

they collect.” Id. ¶ 86.

   C. Procedural History

       In July 2023, Evelia Rodriquez, Erikka Wilson, and A.N. filed a class action

complaint against Beijing Douyin Information Service Co. Ltd. f/k/a Beijing

ByteDance Technology Co. Ltd.; Beijing ByteDance Technology Co. Ltd.; ByteDance,

Inc.; ByteDance Ltd.; ByteDance Pte. Ltd.; and TikTok, Inc. f/k/a Musical.ly, Inc. [1].

In February 2024, these plaintiffs filed an amended class action complaint, this time

adding plaintiffs Aiden Gundlach, J.V., Zachary Buckus, and Raymon Marines. [22].

       The amended complaint alleges 14 separate privacy-related causes of action

under federal, California, and Illinois law. Plaintiffs bring these claims individually




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and on behalf of all others similarly situated. Id. at 1. In March 2024, defendants

moved to dismiss plaintiffs’ amended class action complaint on all counts. [30].

                                        ANALYSIS

      The Court first considers defendants’ threshold argument that plaintiffs

consented to the collection of their data via CapCut’s Privacy Policy. It then considers

whether plaintiffs have stated a claim as to each count in the amended complaint.

   A. Consent

      Defendants contend that a number of plaintiffs’ claims fail because CapCut’s

Privacy Policy discloses plaintiffs’ alleged privacy invasions. [31] at 4–6 & n.3. In

support, defendants attach to their motion to dismiss three versions of CapCut’s

Privacy Policy, from 2020, 2022, and 2023. See [31-1] ¶¶ 4–6; [31-4] Ex. 3; [31-5] Ex.

4; [31-6] Ex. 5. These policies make various disclosures related to the collection of

user data. For example, each policy discloses that CapCut collects user-generated

content, user registration information, and unique device identifiers. [31-4] Ex. 3 at

14–15, 27–28; [31-5] Ex. 4 at 3–4; [31-6] Ex. 5 at 3–4. The latter two policies also

disclose that CapCut “may collect information about the images and audio that are a

part of your User Content,” including “identifying the objects and scenery that

appear” and “the existence and location within an image of face and body features

and attributes.” [31-5] Ex. 4 at 3; [31-6] Ex. 5 at 3.

      When a party attaches additional evidence to a motion to dismiss, the general

rule is that “the court must either convert the 12(b)(6) motion into a motion for

summary judgment under Rule 56 … or exclude the documents attached to the



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motion to dismiss and continue under Rule 12.” 188 LLC v. Trinity Indus., Inc., 300

F.3d 730, 735 (7th Cir. 2002) (quoting Levenstein v. Salafsky, 164 F.3d 345, 347 (7th

Cir. 1998)). However, a “narrow exception” to this rule allows “documents attached to

a motion to dismiss [to be] considered part of the pleadings if they are referred to in

the plaintiff’s complaint and are central to his claim.” Id. (quoting Wright v. Assoc.

Ins. Cos. Inc., 29 F.3d 1244, 1248 (7th Cir. 1994)). Here, the requirements for

incorporation by reference have been met. Plaintiffs indisputably reference CapCut’s

Privacy Policies in their amended complaint, see [22] ¶¶ 124, 128–38, and whether

these policies constituted plaintiffs’ consent to the alleged data collection is central to

their claims that defendants violated various privacy-related statutes.

       Even so, whether plaintiffs waived their rights to bring suit based on their

alleged consent to CapCut’s Privacy Policy is an affirmative defense that cannot be

resolved via this Rule 12(b)(6) motion. See Fed. R. Civ. P. 8(c)(1) (listing waiver as an

affirmative defense); Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687, 690

(7th Cir. 2012) (“[C]ourts should usually refrain from granting Rule 12(b)(6) motions

on affirmative defenses.”). Dismissing a claim based on an affirmative defense is only

appropriate if “the allegations of the complaint itself set forth everything necessary

to satisfy the affirmative defense.” United States v. Lewis, 411 F.3d 838, 842 (7th Cir.

2005). Here, several outstanding questions prevent a determination, as a matter of

law, that the attached CapCut Privacy Policies “conclusively establish consent.” In re

Google Assistant Priv. Litig., 457 F. Supp. 3d 797, 823 (N.D. Cal. 2020).




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      None of the materials conclusively establish at this stage of the proceedings

when and how plaintiffs agreed to these terms in the CapCut Privacy Policies.

Defendants assert that “[u]sers expressly or impliedly consent to the policy upon

downloading and using the app,” [31] at 4, but plaintiffs allege that “[d]efendants do

not provide such users actual notice of privacy policies or terms of use” and that

“[u]sers were able to access the CapCut platform without having to scroll through and

read such policies before they were allowed to sign up for the services.” [22] ¶ 130.

Although defendants attach to their motion an undated screenshot purporting to

show that all users must click “Agree and continue” to CapCut’s Terms of Service and

Privacy Policy, see [31-9] Ex. 8 at 1, this evidence is insufficient to establish that the

named plaintiffs here in fact agreed to any terms during the period relevant to this

suit. This is especially true where the complaint alleges (and the Court must accept

as true) that each named plaintiff never read any privacy policy or terms of use. [22]

¶¶ 10, 13, 16–19.

      In addition, plaintiffs assert—and defendants do not dispute—that the

attached policies are “only three of the ten (or more) versions of the policy that existed

over time.” [36] at 9. The Court thus has no way of knowing whether the named

plaintiffs agreed to the attached policies or another version that might contain

material differences—a distinct possibility given the differences in the policies

defendants have attached. Although the two later policies state that defendants

collect a user’s location data, the earlier policy does not. Compare see [31-5] Ex. 4 at

4 and [31-6] Ex. 5 at 4, with [31-4] Ex. 3 at 14–16; see also Patterson v. Respondus,



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Inc., 593 F. Supp. 3d 783, 805 (N.D. Ill. 2022) (declining to conclude as a matter of

law that written policies on defendant’s webpage governed plaintiffs’ claims because

the case “may involve factual questions about what [defendant’s] policies looked like

at different moments in time”).

      Given these factual issues (and others that may exist), at this stage, CapCut’s

Privacy Policies do not preclude plaintiffs’ claims as a matter of law. See Cottle v.

Plaid Inc., 536 F. Supp. 3d 461, 478 (N.D. Cal. 2021) (“The sufficiency of Plaid’s

privacy policy is a key disputed issue in this case. Resolution of that issue is

inappropriate at this stage.”); In re Meta Pixel Tax Filing Cases, 724 F. Supp. 3d 987,

1003 (N.D. Cal. 2024) (“[W]hether plaintiffs consented to having their data collected

is a question of fact … [that] the Court cannot determine at the 12(b)(6) stage.”).

   B. Consumer Fraud and Abuse Act (Count I)

      The Consumer Fraud and Abuse Act (“CFAA”) imposes liability on a person or

entity who “intentionally accesses a computer without authorization or exceeds

authorized access, and thereby obtains … information from any protected computer.”

18 U.S.C. § 1030(a)(2)(C). “[A]n individual ‘exceeds authorized access’ when he

accesses a computer with authorization but then obtains information located in

particular areas of the computer—such as files, folders, or databases—that are off

limits to him.” Van Buren v. United States, 593 U.S. 374, 396 (2021). Section 1030(g)

provides that “[a]ny person who suffers damage or loss by reason of a violation of this

section may maintain a civil action against the violator to obtain compensatory

damages and injunctive relief or other equitable relief.” 18 U.S.C. § 1030(g).



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       For the reasons explained next, the Court dismisses plaintiffs’ CFAA claim

because it does not adequately allege (1) any unauthorized access to particular areas

of their devices and (2) “loss” under the CFAA.2

       1. Unauthorized Access

       Plaintiffs have not met Twombly’s pleading standard because, as defendants

assert, other than a “barebones assertion that Defendants have the ability to access

unnamed files on their devices,” plaintiffs “make no allegation that Defendants

accessed any particular areas of their devices outside of the app itself.” [31] at 7.

       Plaintiffs’ factual allegations supporting a claim of unauthorized access are

limited to the following: “Defendants have built into the CapCut app the capacity to

… access files on user devices and store them,” and “Defendants intentionally

accessed Plaintiffs’ devices without the necessary authorization in order to obtain

data that Plaintiffs did not authorize them to take.” [22] ¶¶ 105, 157. As for the first

allegation, the fact that CapCut had the “capacity” to access files on user devices says

nothing about whether defendants did exceed their authorization to access those files.

And the second allegation merely recites a required element under § 1030(a)(2). See

Twombly, 550 U.S. at 555 (“[A] formulaic recitation of the elements of a cause of




2 The Court has no reason to address plaintiffs’ argument that they may bring suit when the

alleged CFAA violation constitutes “a threat to public health or safety,” 18 U.S.C.
§ 1030(c)(4)(A)(i)(IV), on the theory that China’s alleged collection of American data via
TikTok is such a threat. The Court notes, however, that at least one district court has pointed
to an absence of authority to support the suggestion that “because China’s collection of all
Americans’ data in the aggregate may pose a threat to national security, every American can
assert that the collection of his or her data (no matter the nature of the data) threatens public
health or safety under the CFAA.” See Griffith v. TikTok, Inc., No. 5:23-CV-00964-SB-E, 2023
WL 9019035, at *5 (C.D. Cal. Dec. 13, 2023).
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action will not do.”) (cleaned up). The complaint otherwise sheds no light on the

circumstances surrounding the alleged unauthorized access. It does not specify which

area(s) of plaintiffs’ devices defendants supposedly accessed or what type of data

defendants sought in exceeding their authorization. Without more, plaintiffs’ factual

allegations are not “enough to raise a right to relief above the speculative level.” Id.

at 555.3

       Plaintiffs’ counterarguments are unavailing. They insist that defendants

“attempt to rewrite the statute” by focusing on their unauthorized access to “areas”

and “files,” rather than “data.” [36] at 11. The battle over terminology is beside the

point. To violate § 1030(a)(2)(C), a defendant must “access[ ] a computer without

authorization or exceed[ ] authorized access.” 18 U.S.C. § 1030(a)(2)(C). Although

plaintiffs allege various ways defendants collect and misuse their data, see, e.g., [22]

¶¶ 100–10, the complaint still does not sufficiently allege that defendants “exceeded

authorized access” in the process of doing so. 18 U.S.C. § 1030(a)(2)(C).

       Leitner v. Morsovillo, 2021 WL 2669547, at *4 (W.D. Mo. June 29, 2021), and

Speed of Light Ops, LLC v. Elliot, 2023 WL 2815875 (D. Utah Mar. 21, 2023), do not

assist plaintiffs either. The allegations in both cases described the specific data

defendants accessed without authorization. In Leitner, plaintiffs alleged that

defendants directed independent contractors “to access and tamper with Plaintiff’s

client records and data, with the intent to use that client information to lure away


3 Plaintiffs’ response brief also cites Paragraphs 103, 104, 130, and 158 of the complaint, but

besides a few conclusory references to unauthorized access in paragraph 158 (made in the
context of loss), these allegations do not support claims of unauthorized access. See [22]
¶¶ 103–04, 130, 158.
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[plaintiff’s] customers.” 2021 WL 2669547, at *2. And in Speed of Light, plaintiffs

alleged that defendants “had access to certain items under a valid license, and then

exceeded that license by manipulating numbers to access other proposals and

customer information.” 2023 WL 2815875, at *4. Here, plaintiffs provide the Court

with no detail about how defendants exceeded their authorized access to their devices

(i.e., what data they accessed).

      To be clear, the Court does not base its conclusion on a finding that CapCut

was in fact authorized to access certain areas of plaintiffs’ devices, as defendants

suggest in their opening brief. [31] at 7–8. Factual disputes such as the scope of

defendants’ access are not appropriately resolved on a motion to dismiss. See Leitner,

2021 WL 2669547, at *4. And defendants’ citation to Brodsky does not suggest

otherwise. See Brodsky v. Apple Inc., No. 19-CV-00712-LHK, 2019 WL 4141936 (N.D.

Cal. Aug. 30, 2019). In that case, plaintiffs’ complaint “concede[d] that [they]

voluntarily installed the software update,” which unambiguously established

authorization to install two-factor authentication on their devices. Id. at *8. Here,

questions of fact exist as to the scope of the authorization and the design of plaintiffs’

operating systems. See, e.g., [31] at 7–8 (maintaining that the operating systems “are

designed to block any unauthorized access outside of the app”).

      Still, this factual dispute over the scope of defendants’ authorized access does

not absolve plaintiffs of their burden to plead facts that “nudge their claims across

the line from conceivable to plausible.” Twombly, 550 U.S. at 570. Because they have




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not adequately pled unauthorized access, plaintiffs fail to state a claim under the

CFAA.

      2. Loss

      Plaintiffs’ CFAA claim fails for a second, independent reason: they have not

adequately alleged “loss” as required by the statute. “Under the CFAA, Plaintiffs

must also plead that [defendants’] actions caused loss of more than $5,000 during any

one-year period.” Brodsky, 2019 WL 4141936, at *7; see also 18 U.S.C.

§ 1030(c)(4)(A)(i)(I). The statute defines “loss” as “any reasonable cost to any victim,

including the cost of responding to an offense, conducting a damage assessment, and

restoring the data, program, system, or information to its condition prior to the

offense.” 18 U.S.C. § 1030(e)(11). The statutory definition of “loss” “focus[es] on

technological harms—such as the corruption of files—of the type unauthorized users

cause to computer systems and data.” Van Buren, 593 U.S. at 392.

      Plaintiffs offer three theories of loss. First, they point to the “secret

transmission of … [their] private and personally identifiable data and content,” which

“caused a diminution in value of … [their] personal information.” [22] ¶ 158. Second,

they allege that the transmission of their data “frequently and systematically drained

… [their] devices and batteries.” Id. Third, they allege that “Defendants’

unauthorized access to Plaintiffs’ devices requires evaluation by professionals to

determine potential remedial measures.” Id.

      As for the diminution of value of plaintiffs’ data, the Court follows the lead of

other courts that have held this type of loss is not cognizable under the CFAA. In



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Andrews v. Sirius XM Radio Inc., 932 F.3d 1253 (9th Cir. 2019), plaintiff similarly

asserted loss based on the diminished value of his personal information and his

inability to commodify it in the future. Id. at 1262. The Ninth Circuit observed that

the “statute’s ‘loss’ definition—with its references to damage assessments, data

restoration, and interruption of service—clearly limits its focus to harms caused by

computer intrusions, not general injuries unrelated to the hacking itself.” Id. at 1263.

Because this “narrow conception of loss” did not align with plaintiff’s theory of

diminution of value, Andrews concluded that the plaintiff could not state a CFAA

claim. Id.; see also Cottle, 536 F. Supp. 3d at 486 (applying Andrews to reject a similar

theory of CFAA loss).

      Plaintiffs’ theory of loss related to battery drainage is also defective. Plaintiffs

do not allege their battery drain was at least $5,000 during any one-year period or

explain how to value battery drain at all. The parties dispute whether the class may

aggregate damages to reach the $5,000 CFAA minimum, but that dispute makes no

difference where plaintiffs have not attempted—individually or as a class—to show

their work. See Ji v. Naver Corp., No. 21-CV-05143-HSG, 2023 WL 6466211, at *11

(N.D. Cal. Oct. 3, 2023) (“Even assuming there are millions of people in the class,

Plaintiffs fail to plead any facts regarding how to monetarily value battery drain so

as to satisfy the $5,000 annual requirement.”); cf. Brodsky, 2019 WL 4141936, at *8

(“Plaintiffs’ bald assertion of $5,000 in damages based on 2-5 minute login delays

without any facts to support the allegation is ‘insufficient to sustain a CFAA claim.’”).




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      Plaintiffs’ claim that their devices required “evaluation by professionals” is

similarly speculative without some indication that plaintiffs actually consulted

professionals in response to defendants’ alleged unauthorized access and paid at least

$5,000 per year for those services. The complaint only vaguely alleges that

“Defendants’ unauthorized access to Plaintiffs’ devices requires evaluation by

professionals to determine potential remedial measures.” See id. ¶ 158 (emphasis

added). As is, this allegation is not “enough to raise a right to relief above the

speculative level.” Twombly, 550 U.S. at 555.

      On these grounds, Count I is dismissed without prejudice.

   C. Computer Data Access and Fraud Act (Count V)

      Plaintiffs bring suit under § 502(c)(1) and (2) of the Computer Data Access and

Fraud Act (“CDAFA”). Section 502(c)(1) punishes an entity that “[k]nowingly accesses

and without permission alters, damages, deletes, destroys, or otherwise uses any

data, computer, computer system, or computer network in order to either (A) devise

or execute any scheme or artifice to defraud, deceive, or extort, or (B) wrongfully

control or obtain money, property, or data.” 18 U.S.C. § 502(c)(1). Meanwhile,

§ 502(c)(2) punishes an entity that “knowingly accesses and without permission

takes, copies, or makes use of any data from a computer.” Id. § 502(c)(2).

      To state a claim under the CDAFA, plaintiffs must allege a cognizable loss. “In

the context of a § 502 violation, ‘loss’ has been defined to encompass costs related to

fixing a computer, lost revenue, or other consequential damages incurred due to an

interruption of computer services.” Pratt v. Higgins, No. 22-CV-04228-HSG, 2023 WL



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4564551, at *9 (N.D. Cal. July 17, 2023). This narrow definition of “loss” is understood

to encompass specific harms related to computer intrusions, not broader losses based

on the eventual sharing of data with third parties. Id. at *9. Plaintiffs do not

articulate any theories of loss for their CDAFA claim different than the theories of

loss already discussed in connection with their CFAA claim. See generally [22] ¶¶

219–22. For those same reasons, none of plaintiffs’ theories of harm are cognizable

under the CDAFA.

      Count V is dismissed without prejudice.

   D. Video Privacy Protection Act (Count II)

      The Video Privacy Protection Act (“VPPA”) provides that a “video tape service

provider who knowingly discloses, to any person, personally identifiable information

concerning any consumer of such provider shall be liable to the aggrieved person.” 18

U.S.C. § 2710(b)(1). But CapCut is not a “video tape service provider” within the

meaning of the statute, and so plaintiffs’ VPPA claim fails.

      Under the VPPA, a “video tape service provider” is “any person, engaged in the

business, in or affecting interstate or foreign commerce, of rental, sale, or delivery of

prerecorded video cassette tapes or similar audio visual materials.” 18 U.S.C.

§ 2710(a)(4). Based on the plain language of this statute and according to plaintiffs’

own complaint, CapCut is not a “video tape service provider.” Unlike Blockbuster,

Hollywood Video, and even more modern services like Netflix, Hulu, and Amazon

Prime, CapCut is not “engaged in the business” of renting, selling, or even delivering

audio visual materials. Rather, CapCut provides users with a service. It is a video-



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editing application, which, as plaintiffs allege, “allows users to create, edit and

customize videos” using “various templates, filters, visual effects, and music.” [22]

¶ 1. As defendants put it: “Users provide their videos to CapCut, not the other way

around.” [31] at 11.

      Plaintiffs attempt to sidestep this issue in two ways. First, they contend that

CapCut “delivers” video content to users because it “offers users a library of copyright-

free media assets, including stock videos.” [36] at 17 (quoting [22] ¶ 62). But the mere

act of making stock videos and templates available for use in video projects does not

mean that CapCut is engaged in the business of delivering videos. See In re Vizio,

Inc., Consumer Priv. Litig., 238 F. Supp. 3d 1204, 1221 (C.D. Cal. 2017) (‘“Business’

connotes ‘a particular field of endeavor,’ i.e., a focus of the defendant’s work.”)

(quoting Webster’s Third New International Dictionary 302 (1981) (def. 1d)). The

focus of CapCut’s “business” is to serve as a video-editing application, and providing

stock videos and templates is an ancillary part of that business model. That much is

clear from plaintiffs’ complaint, which repeatedly describes CapCut as a “video editor”

or an app that allows users “to create and edit videos.” E.g., [22] ¶¶ 1, 3, 48–51, 53,

55–56, 60–61. By comparison, any mention of CapCut’s media library in the

complaint is limited to two non-conclusory paragraphs and even those paragraphs

make clear the library’s role is to help CapCut users with their video-editing projects.

Id. ¶¶ 62–63.

      Second, plaintiffs contend that CapCut delivers videos because users are

provided “a unique edited video that users did not previously possess.” [36] at 17. To



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support a broad reading of “deliver,” plaintiffs point to § 2710(a)(3), which defines PII

as information identifying a person as having requested “video materials or services.”

18 U.S.C. § 2710(a)(3) (emphasis added). But the relevant question is the definition

of “video tape service provider” in § 2710(a)(4), not the definition of PII in § 2710(a)(3),

and the former definition limits “video tape service provider” to those who deliver

“prerecorded video cassette tapes or similar audio visual materials,” not “services.”

Id. § 2710(a)(4) (emphasis added).4

       Because further amendment would be futile with respect to plaintiffs’ VPPA

claim, Count II is dismissed with prejudice. See Esco v. City of Chicago, 107 F.4th

673, 683 (7th Cir. 2024).

   E. Electronic Communications Privacy Act & California Invasion of
      Privacy Act (Counts III & X)

       The Electronic Communications Privacy Act of 1986 (“ECPA”) prohibits the

unauthorized “interception” of an “electronic communication.” 18 U.S.C. § 2511(1)(a)–

(e). The ECPA defines “intercept” as the “aural or other acquisition of the contents of

any wire, electronic, or oral communication through the use of any electronic,

mechanical, or other device.” 18 U.S.C. § 2510(4). In much the same way, the

California Invasion of Privacy Act (“CIPA”) prohibits any person from using electronic




4 To be sure, the definition of “video tape service provider” could encompass more modern

means of delivering audio visual materials, such as online applications and streaming
services. See [36] at 16–17; see also In re Hulu Privacy Litig., No. C 11–03764 LB, 2012 WL
3282960, at *5 (N.D. Cal. Aug. 10, 2012) (definition of “video tape service provider” is about
“the video content, not about how that content was delivered (e.g. via the Internet or a bricks-
and-mortar store)”). But as a video-editing service rather than a supplier of materials,
CapCut falls outside even that more expansive understanding of what constitutes a “video
tape service provider.”
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means to “learn the contents or meaning” of any “communication” “without consent”

or in an “unauthorized manner.” Cal. Pen. Code § 631(a).

      Neither the ECPA nor CIPA imposes liability on a person who is a “party” to

the communication. Id. § 2511(2)(d) (“It shall not be unlawful under this chapter for

a person not acting under color of law to intercept a wire, oral, or electronic

communication where such person is a party to the communication ….”); Warden v.

Kahn, 99 Cal. App. 3d 805, 811 (1979) (“[S]ection 631 … has been held to apply only

to eavesdropping by a third party and not to recording by a participant to a

conversation.”). “[T]he relevant inquiry is whether the defendant is a participant in

the conversation, as opposed to a non-participant that uses other means to gain access

to—i.e., intercept—the communication.” Zak v. Bose Corp., No. 17-CV-02928, 2019

WL 1437909, at *3 (N.D. Ill. Mar. 31, 2019) (citing United States v. Pasha, 332 F.2d

193, 198 (7th Cir. 1964)).

      In their response, plaintiffs posit that defendants intercepted their data—thus

exempting them from the party exception to liability—by “redirect[ing]” the contents

of their communications “to third parties, including the CCP, who were not

authorized to have them.” [36] at 19. To support this argument, plaintiffs point to

several cases where defendants installed tracking software on their websites and

then shared the information they collected with third parties. See In re Facebook, Inc.

Internet Tracking Litig., 956 F.3d 589, 596, 607–08 (9th Cir. 2020) (“Facebook

Tracking”) (plaintiff stated claim against Facebook where the website used a plug-in

to track user browsing histories and sold the data to advertisers); Saleh v. Nike, Inc.,



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562 F. Supp. 3d 503, 519–21 (C.D. Cal. 2021) (plaintiffs stated claim where Nike

embedded software into website that allowed third party to capture data); Kauffman

v. Papa John’s Int’l, Inc., No. 22-CV-1492-L-MSB, 2024 WL 171363, at *1, *7 (S.D.

Cal. Jan. 12, 2024) (Papa John’s not subject to party exception where it installed

software enabling it and a third party to track plaintiffs’ interactions with the Papa

John’s website).

      There are at least two problems with plaintiffs’ “redirected data” argument.

First, based on plaintiffs’ allegations, it is not clear whether any communications

were intercepted while in transit as opposed to merely shared with third parties after

the fact. Although the Seventh Circuit has declined to decide whether the interception

must be contemporaneous with transmission, see Epstein v. Epstein, 843 F.3d 1147,

1149–51 (7th Cir. 2016); United States v. Szymuszkiewicz, 622 F.3d 701, 705–06 (7th

Cir. 2010), “[e]very court of appeals to consider the issue” has reached this conclusion.

See Peters v. Mundelein Consol. High Sch. Dist. No. 120, No. 21 C 0336, 2022 WL

393572, at *11 (N.D. Ill. Feb. 9, 2022) (citing Boudreau v. Lussier, 901 F.3d 65, 77

(1st Cir. 2018)). True, plaintiffs assert in their complaint that defendants “intercept”

plaintiffs’ communications, see id. ¶¶ 184, 186–91, 270, but these allegations are

purely conclusory. Without additional support, and even viewing this allegation in

the light most favorable to plaintiffs, the Court cannot reasonably infer that the

communications were intercepted in real-time. This is especially true where the

complaint otherwise alleges only that the CCP “is able to access international and US




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data,” id. ¶ 76 (emphasis added), and that ByteDance was “monitored by a special

committee of [CCP] members,” id. ¶ 77.

      Second, plaintiffs’ allegations fall short of the software-tracking devices that

proved sufficient to state a claim in their cited authority. In Facebook Tracking,

plaintiffs alleged a scheme by which Facebook installed a plug-in that “continued to

collect their data after they had logged off the social media platform, in order to

receive and compile their personally identifiable browsing history.” 956 F.3d at 598.

In that case, the communications were between the user and the third-party website.

Id. at 608. So when Facebook’s plug-in directed the website to duplicate browsing

history and send it to Facebook, the party exception did not “exempt [Facebook] from

liability.” Id.; see also Szymuszkiewicz, 622 F.3d at 705–06 (defendant who installed

a software to forward emails to his own account contemporaneously could be liable

under the ECPA); Campbell v. Facebook Inc., 77 F. Supp. 3d 836, 840 (N.D. Cal. 2014)

(plaintiffs plausibly alleged interception where they alleged Facebook used software

that scanned URLs contained in users’ messages and then used that information for

targeted advertising and to gather “likes” for those URLs). Unlike in these cases,

plaintiffs here do not allege any specific mechanism by which defendants

contemporaneously redirected their communications to third parties.

      In addition to § 631, plaintiffs also bring a claim under § 632 of the CIPA,

which imposes liability on any party who “uses an electronic amplifying or recording

device to eavesdrop upon or record the confidential communication.” Cal. Pen. Code

§ 632(a). But beyond a conclusory statement that “[d]efendants intercepted and



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recorded videos” without “the consent of either the sender or recipient,” plaintiffs do

not allege that defendants used (1) an electronic amplifying device or (2) a recording

device to eavesdrop on plaintiffs’ conversations. Plaintiffs’ conclusory allegations of

“eavesdropping” and “recording” thus lack sufficient detail. See [36] at 22 (citing [22]

¶¶ 75–78, 270).

      Counts III and X therefore are dismissed without prejudice.

   F. Stored Communications Act (Count IV)

      Plaintiffs also bring claims under § 2702(a)(1) and (2) of the Stored

Communications Act (“SCA”). Section 2702(a)(1) provides that “a person or entity

providing an electronic communication service to the public shall not knowingly

divulge to any person or entity the contents of a communication while in electronic

storage by that service.” 18 U.S.C. § 2702(a)(1). Section 2702(a)(2) similarly prohibits

entities that provide “remote computing service to the public” from knowingly

divulging the contents of communications. Id. § 2702(a)(2). Plaintiffs allege that

defendants violated the SCA when they divulged the contents of their information to

unauthorized parties, including the CCP. [22] ¶ 209. But in their current iteration,

plaintiffs’ allegations are not “enough to raise a right to relief above the speculative

level.” Twombly, 550 U.S. at 555; see also [31] at 18.

      To support their claims of disclosed data, plaintiffs reference a June 2022

Buzzfeed News article that cites leaked audio from company employees, which

plaintiffs say demonstrates that “China-based ByteDance has repeatedly accessed

non-public data of U.S. TikTok users.” [22] ¶ 75. As a preliminary matter, this article



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relates to the disclosure of data from TikTok, not CapCut. And unlike TikTok (which

is run by a separate entity in the United States, id. ¶ 29), plaintiffs themselves

acknowledge that CapCut is run directly by ByteDance. See [22] ¶¶ 31, 48. Therefore,

based on the allegations in the complaint, the Court cannot reasonably infer that any

disclosure of data collected via CapCut to ByteDance would have been unauthorized.

       Plaintiffs also cite public statements from a former head of engineering for

ByteDance’s U.S. operations who said the CCP “had its own office where it would

access all ByteDance data.” [22] ¶ 76. The former ByteDance employee also said in a

sworn declaration that a special committee of CCP members had a “super user

credential” enabling them to “view all the data collected by ByteDance, including

U.S.-based user data.” Id. ¶ 77. These statements are not enough to state a plausible

claim for relief. They do not establish that the CCP had access to user

communications, as opposed to user data. See 18 U.S.C. § 2702(a)(1) (imposing

liability only when an entity knowingly divulges the “contents of a communication”)

(emphasis added). The article plaintiffs cite says the engineer was terminated in

2018, which was well before CapCut ever launched in the United States.5 See Hannah

Rooke, TikTok Insider Says Chinese Government Has Backdoor to User Data,

YAHOO.COM (May 17, 2023), https://www.yahoo.com/lifestyle/tiktok-insider-says-

chinese-government-093502126.html; [22] ¶ 48. So even if ByteDance shared user



5 The Court takes judicial notice of this article as it is incorporated into the complaint by

reference. See Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322 (2007) (“[C]ourts
must consider the complaint in its entirety, as well as other sources courts ordinarily examine
when ruling on Rule 12(b)(6) motions to dismiss, in particular, documents incorporated into
the complaint by reference.”); see also 5B Wright & Miller § 1357 (4th ed.) (2024).
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communications with the CCP in 2018, it is too much to presume based on the

engineer’s statement that these activities were ongoing several years later when

CapCut became available to users in the United States.

      Plaintiffs also allege a violation of § 2701(a), which punishes whoever

“intentionally accesses without authorization a facility through which an electronic

communication service is provided.” 18 U.S.C. § 2701(a)(1). But as defendants point

out, § 2701(a)’s prohibition does not apply to the “entity providing a wire or electronic

communications service,” id. § 2701(c)(1), and plaintiffs’ complaint squarely admits

that “[d]efendants provide an electronic communication service within the meaning

of the SCA.” [22] ¶ 199. So long as plaintiffs admit they provide an “electronic

communication service,” their § 2701(a) claim cannot stand.

      Count IV is dismissed without prejudice.

   G. Constitutional and Common-Law Privacy Claims (Counts VI and VII)

      Plaintiffs next raise claims for violations of their right to privacy under the

California Constitution and intrusion upon seclusion under California’s common law.

California courts condense both these causes of action into a single analysis that

considers: “(1) whether there is a reasonable expectation of privacy, and (2) whether

the intrusion was highly offensive.” Hammerling v. Google LLC, 615 F. Supp. 3d 1069,

1088 (N.D. Cal. 2022). “A reasonable expectation of privacy can exist where a

defendant gains ‘unwanted access to data by electronic or other covert means, in

violation of the law or social norms.’” Id. (quoting Facebook Tracking, 956 F.3d at

601–02). “Courts consider the customs, practices, and circumstances surrounding the



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data collection, including the amount of data collected, the sensitivity of data

collected, the manner of data collection, and the defendant’s representations to its

customers.” Id. (citing Hill v. Nat’l Collegiate Athletic Ass’n, 7 Cal.4th 1, 36 (1994)).

      Defendants first argue that plaintiffs cannot state a claim under either theory

because they consented to the data collection via CapCut’s Terms of Service or

Privacy Policy. But, as already discussed, whether plaintiffs consented to the data

collection is a question of fact not amenable to resolution on the present record. See

supra at 5–8.

      With the consent issue aside, the Court considers whether plaintiffs have

stated a claim as to the collection of each type of private data defendants allegedly

collected: videos and images; user identifiers, registration information, and sign-up

information; location information; and biometric information. To the extent

defendants argue that “common sense” dispels plaintiffs’ reasonable expectation of

privacy in the collection of their data, the Court views this contention as part and

parcel with whether plaintiffs’ expectation of privacy was objectively “reasonable”

and considers it as part of the discussion that follows.

      Beginning with the collection of videos and images, defendants contend that

“there must be something sensitive about those videos [and images] that creates a

reasonable expectation of privacy in them.” [31] at 20. Because the California

plaintiffs do not allege their photos and videos were “sensitive or private in any way,”

defendants say they cannot serve as the basis of a privacy claim. Id. at 21. However,

the right to privacy does not depend solely on the sensitivity of the particular content



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collected but also considers whether “the manner it was collected … violate[d] social

norms.” Facebook Tracking, 956 F.3d at 603 (emphasis added). In Facebook Tracking,

for example, plaintiffs alleged that Facebook collected full-string detailed URLs from

websites that plaintiffs visited even after they had logged out of the Facebook

application. Id. at 603, 605. In concluding that plaintiffs had adequately alleged an

expectation of privacy, the appeals court did not evaluate the specific content of the

URLs that Facebook collected but instead focused on the fact that users would not

expect Facebook to collect information about their habits on third-party websites

when they were not operating within Facebook itself. Id. at 603–04.

      Here, like in Facebook Tracking, plaintiffs challenge the manner in which data

was collected. Specifically, they allege that CapCut accesses and collects all the videos

and photos stored on their devices, not just those they voluntarily uploaded to the

CapCut app. See [22] ¶ 11 (alleging that, with regard to plaintiff Rodriguez, “the

CapCut app gained access to all of the photos and videos on her device”); id. ¶ 120

(alleging that defendants “took plaintiffs’ … private videos and audio-visual material

from their devices”). Taking these allegations as true, plaintiffs have sufficiently

alleged a reasonable expectation of privacy in this data. When using a video-editing

app, a reasonable CapCut user would not expect the app to access and collect all the

photos and videos on their devices, regardless of whether they use those photos and

videos to create content within the app. Cf. Riley v. California, 573 U.S. 373, 397–99

(2014) (recognizing that individuals have a reasonable expectation of privacy in

the contents of their cell phones due to the large amount of personal data stored



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therein); Hibbert v. Schmitz, No. 16-CV-3028, 2019 WL 8405217, at *16 (C.D. Ill. Feb.

7, 2019) (plaintiff’s expectation of privacy “in her phone and its contents is one that

society is prepared to recognize as reasonable”). The proffered nature and scope of

this alleged practice is enough at this early stage. See Narducci v. Moore, 572 F.3d

313, 320 (7th Cir. 2009) (taking facts in light most favorable to plaintiff, he

demonstrated a reasonable expectation of privacy in phone line at work).

      As for the user/device identifiers, registration information, and sign-up

information, courts have held that there is no reasonable expectation of privacy in

these types of data. See, e.g., Ji v. Naver Corp., No. 21-CV-05143-HSG, 2022 WL

4624898, at *7 (N.D. Cal. Sept. 30, 2022) (“Plaintiffs have not alleged enough facts to

show that the ‘user and device identifiers’ are the type of information that could give

rise to a privacy injury.”); I.C. v. Zynga, Inc., 600 F. Supp. 3d 1034, 1049 (N.D. Cal.

2022) (“[T]he Court is hard pressed to conclude that basic contact information,

including one’s email address, phone number, or Facebook or Zynga username, is

private information.”). Nothing about the allegations here compels a different

conclusion; there can be no objectively reasonable expectation of privacy in the type

of information that users knowingly provided when signing up for CapCut’s services.

See generally United States v. Soybel, 13 F.4th 584, 590–91 (7th Cir. 2021) (“A person

generally ‘has no legitimate expectation of privacy in information he voluntarily turns

over to third parties,’ subjective expectations notwithstanding.”) (quoting Smith v.

Maryland, 442 U.S. 735, 743–44 (1979), and also citing United States v. Miller, 425

U.S. 435, 442 (1976)).



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       Next up is the collection of plaintiffs’ location data. Defendants do not argue

that plaintiffs lack a reasonable expectation of privacy in their location information;

they only argue that plaintiffs consented to the collection of such data. As discussed,

whether plaintiffs consented to their data is a factual question to be determined at a

later stage in the litigation.

       Defendants also argue generally that plaintiffs “do not allege a highly offensive

intrusion.” [38] at 14. “Determining whether a defendant’s actions were ‘highly

offensive to a reasonable person’ requires a holistic consideration of factors such as

the likelihood of serious harm to the victim, the degree and setting of the intrusion,

the intruder’s motives and objectives, and whether countervailing interests or social

norms render the intrusion inoffensive.” Facebook Tracking, 956 F.3d at 606. Without

further briefing from the parties on these issues, the Court is not prepared to hold,

as a matter of law, that no reasonable person would find the collection of “fine-grained

location information” to be highly offensive. Indeed, depending on the duration of the

collection, such a conclusion could be in tension with Carpenter v. United States, 585

U.S. 296, 311 (2018) (concluding that defendant had a reasonable expectation of

privacy under the Fourth Amendment in historical cell-site records tracking his

location for 127 days). At this juncture, the Court therefore concludes that plaintiffs

may proceed with their constitutional and common-law privacy claims based on the

collection of their location data. See Rivera v. Google, Inc., 366 F. Supp. 3d 998, 1012

(N.D. Ill. 2018) (finding plaintiffs had a reasonable expectation of privacy in Google’s

collection of their location data).



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      Finally, regarding biometric data, defendants do not contend that plaintiffs

lack a reasonable expectation of privacy in that collection. Instead, they argue that

plaintiffs “do not adequately allege that any biometric identifiers were collected from

them” at all. [31] at 20. For the reasons discussed in more detail later in this opinion,

see infra at 39–43, the Court finds that plaintiffs have adequately alleged the

collection of their biometric data. And, like the location data, it suffices for now to say

that a reasonable person could find the collection of face scans and voiceprints to be

highly offensive. See Naver, 2022 WL 4624898, at *10 (plaintiffs stated intrusion upon

seclusion and California constitutional privacy claims based on collection of their

biometric information). Therefore, plaintiffs may also proceed at this juncture with

their constitutional and common-law privacy claims based on the collection of their

biometric data.

      In sum, plaintiffs may proceed with their constitutional and common-law

privacy claims based on the collection of their photos and videos, location data, and

biometric data. To the extent plaintiffs bring these claims based on the collection of

user identifiers, registration information, and sign-up information, plaintiffs’ claims

are dismissed without prejudice.

   H. Unfair Competition Law (Count VIII)

      Plaintiffs next allege that defendants violated California’s Unfair Competition

Law (“UCL”), which prohibits any “unlawful, unfair or fraudulent business act or

practice.” Cal. Bus. & Prof. Code § 17200. Because a UCL claim “sound[s] in fraud,”

plaintiffs “must state with particularity the circumstances constituting fraud”



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pursuant to Rule 9(b). Elias v. Hewlett-Packard Co., 903 F. Supp. 2d 843, 853 (N.D.

Cal. 2012); Fed. R. Civ. P. 9(b).

      A plaintiff has statutory standing to sue under the UCL only if they “lost money

or property as a result of the unfair competition.” Cal. Bus. & Prof. Code § 17204. “[A]

plaintiff … must demonstrate some form of economic injury.” Kwikset Corp. v.

Superior Ct., 51 Cal. 4th 310, 323 (2011). The requirement “confine[s] standing to

those actually injured by a defendant’s business practices and [ ] curtail[s] the prior

practice of filing suits on behalf of clients who have not used the defendant’s product

or service, viewed the defendant’s advertising, or had any other business dealing with

the defendant.” Id. at 321. Plaintiffs offer four theories to satisfy this requirement:

(1) the diminution in the value of their data, (2) that their devices have “been

impaired and slowed,” (3) that they incurred data and electricity costs, and (4) that

they were harmed by the invasion of their privacy. [22] ¶ 254. None of these four

theories suffices to establish that plaintiffs “lost money or property as a result of”

defendants’ data privacy practices. Cal. Bus. & Prof. Code § 17200.

      Beginning with the first theory, based on the complaint before it, plaintiffs’

allegations do not meet the heightened requirements under Rule 9(b). Even if the

diminution in value of plaintiffs’ data could constitute an economic loss, plaintiffs do

not allege that they have tried to sell their data and have received a lesser price for

it. See Griffith, 2023 WL 9019035, at *6 (plaintiffs had not stated a UCL claim

because they failed to allege the surveys they wished to participate in “either declined

to let them participate … or paid them less than they would have otherwise



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received”). Nor do they allege that they even intended to sell their data on the

personal-data market. See In re Meta Pixel, 724 F. Supp. 3d at 1024 (plaintiffs could

support UCL standing if they alleged they “attempted or intended to participate in

the market for their data”) (cleaned up). Plaintiffs also have “not shown how this

information has economic value to [them].” Bass v. Facebook, Inc., 394 F. Supp. 3d

1024, 1040 (N.D. Cal. 2019) (“That the information has external value, but no

economic value to plaintiff, cannot serve to establish that plaintiff has personally lost

money or property.”). Without plausible allegations that plaintiffs themselves planned

to “derive economic value from their PII,” on this record plaintiffs cannot establish

that they in fact “lost money or property” according to the diminished-value theory.

Id. (quoting Moore v. Centrelake Med. Grp., Inc., 83 Cal. App. 5th 515, 538 (2022)).6

       Plaintiffs’ citation to Facebook Tracking does not persuade the Court

otherwise. 956 F.3d at 600. That case did not consider whether the diminished-value

theory was sufficient to establish statutory standing to sue under the UCL—it only

considered whether it was sufficient to confer standing under Article III. Id. at 600;

Griffith, 697 F. Supp. 3d at 977 (declining to rely on Facebook Tracking because it

only dealt with Article III standing); Hazel v. Prudential Fin., Inc., No. 22-CV-07465,

2023 WL 3933073, at *6 (N.D. Cal. June 9, 2023) (same). And the UCL’s standing

requirement is “substantially narrower than federal standing” under Article III. See

Kwikset, 51 Cal.4th at 324. “Whereas a federal plaintiff’s injury in fact may be



6 Because plaintiffs have not adequately alleged that their data lost value, any theory that

they were deprived the “benefit of their bargain” when they paid to access CapCut’s
additional features also falls short.
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intangible and need not involve lost money or property, … [the UCL requires] that a

plaintiff’s injury in fact specifically involve lost money or property.” Id. (cleaned up).

      Plaintiffs’ remaining theories of economic loss fare no better. Besides the

conclusory statements that the “battery, memory, CPU and bandwidth of [their]

devices have been compromised” and “they have incurred additional data usage and

electricity costs,” plaintiffs offer no details to support their second and third theories

of loss. [22] ¶ 254. These allegations therefore fall short of Rule 9(b)’s particularity

requirement. See Opperman v. Path, Inc., 87 F. Supp. 3d 1018, 1056 (N.D. Cal. 2014)

(“Because Plaintiffs have not quantified or otherwise articulated the alleged resource

usage, they fail to allege an injury that can serve as the basis of standing.”). As for

their final theory, plaintiffs have offered no explanation why they experienced actual

loss from the invasion of their privacy.7

      Count VIII is dismissed without prejudice.

   I. False Advertising Law (Count IX)

      Plaintiffs next bring a claim under California’s False Advertising Law (“FAL”),

which “makes it unlawful for a business to disseminate any statement ‘which is

untrue or misleading, and which is known, or which by the exercise of reasonable care

should be known, to be untrue or misleading.’” Elias, 903 F. Supp. 2d at 853 (quoting

Cal. Bus. & Prof. Code § 17500). “Whether an advertisement is ‘misleading’ must be

judged by the effect it would have on a reasonable consumer.” Id. (citing Williams v.



7 Because the Court finds that plaintiffs have not adequately alleged standing under the

UCL, it need not reach defendants’ argument that plaintiffs have not adequately alleged an
unlawful, unfair, or fraudulent business practice.
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Gerber Products Co., 552 F.3d 934, 938 (9th Cir. 2008)). Like their UCL claim,

plaintiffs must also meet Rule 9(b)’s heightened pleading requirement. Id.; Fed. R.

Civ. P. 9(b).

       Here, plaintiffs base their FAL claim on defendants’ alleged failure to disclose

the collection of their private information and its sharing of the data with the CCP

and foreign government entities. [22] ¶ 259. Plaintiffs also allege that “[d]efendants’

advertising and other statements regarding CapCut are, and at all relevant times

were, highly misleading.” Id.

       FAL claims are subject to the same economic loss requirement as claims

brought under the UCL. See In re Ferrero Litig., 794 F. Supp. 2d 1107, 1111 (S.D. Cal.

2011) (“In order to assert a claim under the UCL or FAL, a person must have ‘suffered

injury in fact and ha[ve] lost money or property.’”) (quoting Cal. Bus. & Prof. Code

§ 17535). Thus, for the same reasons just discussed, plaintiffs cannot establish they

have statutory standing to bring a claim under the FAL.

       Moreover, to state a claim under the FAL, a plaintiff must have experienced

an economic injury “as a result of [defendants’] unfair competition.’” Id. (quoting Cal.

Bus. & Prof. Code § 17535). In other words, “actual reliance is required to have

standing to sue under the … FAL.” Id. In this case, plaintiffs do not allege that they

relied on defendants’ alleged misrepresentations when deciding whether to use

CapCut’s services, and their conclusory allegation that they “have been harmed and

have suffered economic injury as a result of Defendants’ misrepresentations” does not

suffice under Rule 9(b). [22] ¶ 261 (emphasis added); see also Hammerling, 615 F.



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Supp. 3d at 1081 (plaintiffs’ statement that they would not have purchased their

Android smartphones had they known Google would collect their data was not enough

to plead reliance).8

       To the extent plaintiffs’ FAL claim relies on an omission, their allegations also

fall short. “To plausibly allege a fraudulent omission, the omission must either (1) ‘be

contrary to a representation actually made by the defendant,’ or (2) ‘an omission of a

fact the defendant was obliged to disclose.’” Rodriguez v. Mondelez Glob. LLC, 703 F.

Supp. 3d 1191, 1209 (S.D. Cal. 2023) (quoting Hodsdon v. Mars, Inc., 891 F.3d 857,

865 (9th Cir. 2018)). Plaintiffs have not pointed to any contrary representation, nor

have they alleged why defendants were obligated to disclose their data-collection

practices other than to assert in a conclusory manner that they “were under a duty

to disclose” based on their contractual relationship with plaintiffs.9 See [22] ¶¶ 119,

253; see also Hammerling, 615 F.Supp.3d at 1081 (“The fraudulent omission claims

fail because Google lacked a duty to disclose its data collection practices.”).

       Count IX is dismissed without prejudice.




8  In a footnote of their response brief, plaintiffs point to one alleged affirmative
misrepresentation on CapCut’s website, which read as follows: “Bring privacy and security
into your life with CapCut’s free cloud storage. Simply make your account, and rest assured
that your data will remain safe whenever you return.” [36] at 30 n.27 (citing [22] ¶ 65). But
plaintiffs do not allege that they actually relied on this alleged misrepresentation. See In re
Ferrero Litig., 794 F. Supp. 2d at 1111.
9 Although the “law concerning a defendant’s duty to disclose in a fraudulent omissions case

is ‘marked by general disarray,’” Hammerling laid out two tests used to determine whether
a defendant has a duty to disclose. Hammerling, 615 F.Supp.3d at 1085 (quoting In re Toyota
RAV4 Hybrid Fuel Tank Litig., 534 F. Supp. 3d 1067, 1101 (N.D. Cal. 2021)). At this stage in
the litigation, plaintiffs have not established that they meet either of these two tests.
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   J. Larceny and Conversion (Counts XI & XII)

      Plaintiffs next raise claims for common law larceny and conversion. “California

Penal Code Section 484 forbids theft, which includes obtaining property ‘by … false

… representation or pretense.’” Calhoun, 526 F. Supp. 3d at 635 (quoting Cal. Penal

Code § 484). In addition, “California Penal Code Section 496(a) prohibits the

obtaining of property ‘in any manner constituting theft.’” Id. (quoting Cal. Penal Code

§ 496(a)). A plaintiff states a claim for conversion if they plausibly allege: “(1) the

plaintiff’s ownership or right to possession of the property; (2) the defendant’s

conversion by a wrongful act or disposition of property rights; and (3) damages.” Lee

v. Hanley, 61 Cal. 4th 1225, 1240 (2015).

      Defendants make a compelling argument that they could not have stolen or

converted plaintiffs’ videos to the extent plaintiffs willingly housed them within the

CapCut platform and on CapCut’s servers. See Best Carpet Values, Inc. v. Google,

LLC, 90 F.4th 962, 969 (9th Cir. 2024) (a website copy is not “capable of exclusive

possession or control” because plaintiffs did not “retain control over the copies of their

websites that are generated and sent to users’ devices”); Snapkeys, Ltd. v. Google

LLC, 539 F. Supp. 3d 1040, 1056 (N.D. Cal. 2021) (no conversion where plaintiffs gave

smartwatches to Google as product samples). But, as discussed, plaintiffs also allege

that defendants collected videos from their devices that they did not willingly provide

to CapCut. See supra at 25–26. In any case, plaintiffs allege more than the theft or

conversion of their videos; they also claim that defendants unlawfully collected their

“personal information and private data.” [22] ¶¶ 283, 288. Other parts of the



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complaint make clear that this data was not limited to videos but also included phone

and social network contacts, location data, and product interaction and user data. Id.

¶ 103. Even more so, in some cases (such as the collection of location data), plaintiffs

allege that they did not know that data was being collected at all. See [22] ¶ 100

(“[U]nbeknownst to users,” defendants collected plaintiffs’ “private and personally

identifiable data and content.”) (emphasis added).

      As for these other data, defendants cite to Low to argue that personal data is

generally not considered property. [31] at 25 n.8 (citing Low v. LinkedIn Corp., 900

F. Supp. 2d 1010, 1030 (N.D. Cal. 2012)). True, the court in Low commented in 2012

that “the weight of authority holds that a plaintiff’s ‘personal information’ does not

constitute property.” 900 F. Supp. 2d at 1030. But even the judge in Low has since

acknowledged that the “growing trend across courts ... [is now] to recognize the lost

property value” of personal information. Calhoun, 526 F. Supp. 3d at 635 (quoting In

re Marriott Int’l, Inc. Cust. Data Sec. Breach Litig., 440 F. Supp. 3d 447, 461 (D. Md.

2020)); see also Griffith, 697 F. Supp. 3d at 976 (agreeing with Calhoun that plaintiffs

can have a property interest in their personal data). The Court follows the prevailing

trend to allow plaintiffs’ property claims based on the alleged theft and conversion of

their personal data.

      Defendants have not offered any other grounds to dismiss plaintiffs’ claims for

larceny and conversion. The Court therefore denies the motion to dismiss as to Counts

XI & XII.




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   K. Restitution and Unjust Enrichment (Count XIII)

      To allege unjust enrichment, “a plaintiff must show that a defendant received

and unjustly retained a benefit at the plaintiff’s expense.” Russell v. Walmart, Inc.,

680 F. Supp. 3d 1130, 1133 (N.D. Cal. 2023) (quoting ESG Cap. Partners, LP v.

Stratos, 828 F.3d 1023, 1038 (9th Cir. 2016)). “[R]estitution generally requires that a

defendant has been unjustly conferred a benefit through mistake, fraud, coercion, or

request.” Id. (quoting Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir.

2015)). In California, “there is not a standalone cause of action for unjust

enrichment.” Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015)

(cleaned up). However, “[w]hen a plaintiff alleges unjust enrichment, a court may

‘construe the cause of action as a quasi-contract claim seeking restitution.’”

Hammerling, 615 F. Supp. 3d at 1096 (quoting Astiana, 783 F.3d at 762).

      It is “well settled that an action based on an implied-in-fact or quasi-contract

cannot lie where there exists between the parties a valid express contract covering

the same subject matter.” O’Connor v. Uber Techs., Inc., 58 F. Supp. 3d 989, 999–

1000 (N.D. Cal. 2014) (quoting iLance Camper Mfg. Corp. v. Republic Indem. Co., 44

Cal.App.4th 194, 203 (2d Dist. 1996)). Relying on this principle, defendants maintain

that the unjust enrichment claim fails because plaintiffs entered into an express

contract with defendants via CapCut’s Terms of Service. [31] at 26. But as discussed

earlier, factual issues remain as to whether plaintiffs ever agreed to any Terms of

Service and, if so, which version of the Terms they agreed to. See supra at 5–8. On




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this record, dismissal of plaintiffs’ unjust enrichment claim based on CapCut’s Terms

of Service would be improper.

       Citing the Ninth Circuit’s decision in Sonner v. Premier Nutrition Corp., 971

F.3d 834, 844–45 (9th Cir. 2020), defendants also argue that plaintiffs cannot state a

claim for unjust enrichment because plaintiffs “have an adequate legal remedy” and

“allege the exact same conduct” under other causes of action seeking damages. [31]

at 26. Plaintiffs counter they have alleged that legal remedies are inadequate and no

more is required to survive a motion to dismiss. [36] at 31; [22] ¶ 256 (“California

Plaintiffs and the California Subclass lack an adequate remedy at law and thus are

entitled to seek equitable relief.”).

       In Sonner, a consumer plaintiff brought a putative class action against a

dietary supplement maker, seeking both damages and equitable restitution for false

and misleading advertising under the UCL and California’s Consumer Legal

Remedies Act (“CLRA”). 971 F.3d 834 at 838. The plaintiff amended the complaint to

drop the CLRA damages claim on the eve of trial; the district court granted

defendant’s motion to dismiss and denied plaintiff leave to amend the complaint to

re-allege the CLRA damages claim. Id. at 837. On appeal, the Ninth Circuit held that

the plaintiff was not entitled to unjust enrichment for violating the UCL and CLRA

because she did “not allege that [she] lack[ed] an adequate legal remedy.” Id. at 844.

The appeals court emphasized that plaintiff sought “the same sum in equitable

restitution as a full refund of the purchase price—$32,000,000—as she requested in

damages to compensate her for the same past harm.” Id.



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      District courts have understood Sonner to teach “that a plaintiff, on the eve of

trial, cannot create an inadequacy of a legal remedy by eliminating its availability by

taking volitional action.” E.g., Nacarino v. Chobani, LLC, 668 F. Supp. 3d 881, 895

(N.D. Cal. 2022). However, “Sonner has limited applicability to the pleading stage.”

Jeong v. Nexo Fin. LLC, No. 21-CV-02392-BLF, 2022 WL 174236, at *27 (N.D. Cal.

Jan. 19, 2022); see also Johnson v. Trumpet Behav. Health, LLC, No. 3:21-CV-03221-

WHO, 2022 WL 74163, at *3 (N.D. Cal. Jan. 7, 2022) (“[I]f a plaintiff pleads that she

lacks an adequate legal remedy, Sonner will rarely (if ever) require more this early

in the case.”); In re JUUL Labs, Inc., Mktg., Sales Pracs., & Prods. Liab. Litig., 497

F. Supp. 3d 552, 638 (N.D. Cal. 2020) (“The facts of Sonner … are inapposite

considering the allegations and the posture of the [complaint].”). This approach, as

other courts have noted, is “consistent with Federal Rule of Civil Procedure 8 which

allows for pleading in the alternative.” Nacarino, 668 F. Supp. 3d at 896; see also

Jeong, 2022 WL 174236, at *27.

      Sonner aside, plaintiffs must still plead an actionable wrong. See Hammerling,

615 F. Supp. 3d at 1096; see also Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101,

1120 (N.D. Cal. 2016) (“[W]hen a plaintiff fails to sufficiently plead an actionable

misrepresentation or omission, his or her restitution claim must be dismissed.”)

(cleaned up); see Swearingen v. Healthy Beverage, LLC, No. 13-CV-04385-EMC, 2017

WL 1650552, at *5 (N.D. Cal. May 2, 2017) (dismissing unjust enrichment claim

because “it depend[ed] on a finding that Plaintiffs’ relied to their detriment on

Defendants’ misrepresentations”). Here, as discussed in more length above, plaintiffs



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have not plausibly pled that they relied on a misrepresentation or omission when

deciding to use the CapCut app. See supra at 32–33; see also Donohue v. Apple, Inc.,

871 F. Supp. 2d 913, 933 (N.D. Cal. 2012) (“[A]s plaintiff has failed to sufficiently

plead an actionable misrepresentation or omission, his restitution claim must be

dismissed.”).

      Accordingly, Count XIII is dismissed without prejudice.

   L. Biometric Information Privacy Act (Count XIV)

      1. “Biometric Identifiers”

      Finally, plaintiffs seek relief under Sections 15(b), (c), (d), and (e) of the Illinois

Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/15(b)–(e). BIPA forbids the

unauthorized collection, storing, and disclosure of “biometric identifiers” and

“biometric information.” 740 ILCS 14/15(b), (d); see also Rivera v. Google Inc., 238 F.

Supp. 3d 1088, 1090 (N.D. Ill. 2017) (citing 740 ILCS 14/1 et seq). The statute defines

“biometric identifier” as a “retina or iris scan, fingerprint, voiceprint, or scan of hand

or face geometry.” 740 Ill. Comp. Stat. 14/10.

      Plaintiffs raise two types of alleged “biometric identifiers” in their complaint:

scans of facial geometry and voiceprints taken from user videos. According to

defendants, plaintiffs’ BIPA claims fall short because plaintiffs lack ‘“specific factual

allegations’ demonstrating that the data is or readily could be used by Defendants to

identify them.” [38] at 19–20 (quoting Castelaz v. Estee Lauder Companies., Inc., No.

22 CV 5713, 2024 WL 136872, at *1 (N.D. Ill. Jan. 10, 2024)). In their view, they are




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not collecting “biometric identifiers” as long as they are not matching (or are capable

of matching) the biometric data to a person’s identity.

      As with all questions of statutory interpretation, the “best evidence of

legislative intent is the language used in the statute itself, which must be given its

plain and ordinary meaning.” Paris v. Feder, 179 Ill.2d 173, 177 (1997). “Where the

statutory language is clear and unambiguous, it will be given effect without resorting

to other aids for construction.” People v. Fitzpatrick, 158 Ill. 2d 360, 364–65 (1994).

      Here, scans of facial geometry and voiceprints are straightforwardly “biometric

identifiers” under the text, which defines “biometric identifiers” to include both

“voiceprint[s]” and “scan[s] of … face geometry.” Id. Despite defendants’ assertions,

the definition itself does not require that defendants actually use the data to identify

individuals. Various courts in this District have already reached this conclusion. See,

e.g., Konow v. Brink’s, Inc., 721 F. Supp. 3d 752, 755 (N.D. Ill. 2024) (“[A] defendant

may violate BIPA even without using technology for the purpose of identifying an

individual; instead, BIPA bars the collection of biometric data that merely could be

used to identify a plaintiff.”); Robinson v. Lake Ventures LLC, No. 22 CV 6451, 2023

WL 5720873, at *7 (N.D. Ill. Sept. 5, 2023); Bell v. Petco Animal Supplies Stores, Inc.,

No. 22 C 6455 (N.D. Ill. May 11, 2023), ECF No. 23; Carpenter v. McDonald’s Corp.,

580 F. Supp. 3d 512, 518 n.2 (N.D. Ill. 2022).

      Defendants cite to a trio of opinions that have dismissed claims that failed to

allege that defendants were capable of identifying users based on the biometric data

they collected. See Clarke v. Aveda Corp., 704 F. Supp. 3d 863, 866 (N.D. Ill. 2023);



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Castelaz, 2024 WL 136872, at *7; Daichendt v. CVS Pharmacy, Inc., No. 1:22-cv-3318,

2022 WL 17404488, at *5 (N.D. Ill. Dec. 2, 2022) (“Daichendt I”). In these cases,

though, the problem was that plaintiffs had not even “allege[d] that they provided

defendant with any information, such as their names or physical or email addresses,

that could connect the voluntary scans of face geometry with their identities.”

Daichendt, 2022 WL 17404488, at *5. Indeed, in Daichendt, the Court subsequently

allowed plaintiffs’ BIPA claim to proceed after they amended their complaint to

plausibly allege that defendant collected their “real-world identifying information.”

Daichendt v. CVS Pharmacy, Inc., No. 1:22-cv-3318, 2023 WL 3559669, at *1 (N.D.

Ill. May 4, 2023) (“Daichendt II”). Here, in contrast, plaintiffs have alleged that

CapCut “collects a broad array of private and personally identifiable data” that (at

least in theory) could have been used to connect plaintiffs’ voiceprints and face scans

to their identities. [22] ¶¶ 100, 317. Thus, it is clear from the face of plaintiffs’

complaint that defendants were capable of using the data to identify them, even if

they did not actually do so.

      Defendants also contend that plaintiffs’ allegations related to the use of

voiceprints fail for lack of specificity. See, e.g., [31] at 31 (plaintiffs’ complaint “is

devoid of any well-pleaded factual allegations demonstrating that CapCut collects or

uses voiceprints”). But plaintiffs plainly allege that CapCut collects plaintiffs’

voiceprints, see, e.g., [22] ¶¶ 303, 314–315, and they support these allegations with

further detail that ByteDance, which runs CapCut, has filed patent applications for

voiceprint technology and that subsidiaries of ByteDance have spoken publicly about



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“speaker identification,” id. ¶ 325. Because the Court accepts these allegations as

true at the pleading stage, see Iqbal, 556 U.S. at 678, plaintiffs plausibly state that

the CapCut app collects voiceprints.

      Defendants also argue that plaintiffs fall short of alleging CapCut collects

“scans of face geometry” through user videos, see [38] at 20–21, but the Court

disagrees. Plaintiffs allege, for example, that “Defendants employ engineers in fields

such as computer vision, convolutional neural network, and machine learning, all of

which are used to generate the face geometry scans that Defendants derive from the

videos of CapCut users.” [22] ¶ 320. Moreover, courts in this District and elsewhere

agree that the data gleaned from analyzing facial geometry within videos can

constitute a “biometric identifier” under BIPA. Deyerler, 2024 WL 774833, at *4

(defendants used software to record and analyze videos of candidates’ facial geometry

during job interviews); Wilk v. Brainshark, Inc., 21 C 4794, 2022 WL 4482842, at *5

(N.D. Ill. Sept. 27, 2022) (defendants used facial-mapping technology to analyze facial

features in sales professionals’ videos); Colombo v. YouTube, LLC, 679 F. Supp. 3d

940, 944 (N.D. Cal. 2023) (defendants collected and stored facial scans from a

YouTube video-editing tool). The Court finds these cases persuasive and likewise

concludes that plaintiffs’ allegations regarding voiceprints and face scans are enough

under the circumstances.

      Defendants offer additional reasons why plaintiffs have not plausibly stated

claims under 740 ILCS 14/15(c), (d), and (e), which the Court addresses in the

discussion that immediately follows. However, defendants do not offer any additional



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reason why plaintiffs’ claim under Section 15(b) should not stand. Therefore, viewing

the allegations in the light most favorable to plaintiffs, the Court finds that they have

stated a claim for relief under Section 15(b).

      2. Defendants’ Remaining BIPA-Related Arguments

          a. Section 15(c)

      According to Section 15(c) of BIPA, “[n]o private entity in possession of a

biometric identifier or biometric information may sell, lease, trade, or otherwise profit

from a person’s or a customer’s biometric identifier or biometric information.” 740

ILCS 14/15(c). In defendants’ view, plaintiffs have not alleged that defendants “sell,

lease, trade, or otherwise profit from” their data. In response, plaintiffs maintain that

defendants “trade” their data by giving their videos to TikTok in exchange for TikTok

running CapCut advertisements within its application. See [36] at 39–40 (citing [22]

¶¶ 68–70).

      As a preliminary matter, plaintiffs’ contention that TikTok “trades”

advertising in exchange for CapCut’s biometric data does not appear on the face of

plaintiffs’ complaint. [22] ¶¶ 68–70. The complaint only alleges that “ByteDance

utilized the popular TikTok app to heavily promote its new CapCut video editing app

to users in the United States”—not that TikTok ran the ads in exchange for receiving

biometric data. Id. ¶ 68. More fundamentally, the complaint fails to allege that

TikTok ever received “biometric identifiers” from CapCut. At most, it alleges that

TikTok received videos to use in advertisements, but photographs and videos are not

themselves biometric identifiers. See Rivera, 238 F. Supp. 3d at 1096; Patterson, 593



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F. Supp. 3d at 817 (“The statute [ ] makes clear that a photograph (and perhaps, by

extension, a video) is not itself a biometric identifier.”). As the district court in Rivera

put it: The “bottom line is that a ‘biometric identifier’ is not the underlying medium

itself, or a way of taking measurements, but instead is a set of measurements of a

specified physical component (eye, finger, voice, hand, face) used to identify a person.”

Rivera, 238 F. Supp. 3d at 1096. Here, plaintiffs have not alleged that defendants

ever shared anything but the “underlying medium” (their videos) with TikTok.10

       Plaintiffs also allege that defendants “otherwise profited from” their data in

several ways, including the development of artificial intelligence technologies,

targeted advertising, and the development of patents. [36] at 39. They further suggest

that defendants incorporate plaintiffs’ biometric identifiers as a “necessary element”

into their business model. Id. at 40 (citing Flores v. Motorola Sols., Inc., 2021 WL

232627, at *3 (N.D. Ill. Jan. 8, 2021)). Like at least two other district courts, the Court

is not inclined to adopt such a broad understanding of Section 15(c). See Delgado v.

Meta Platforms, Inc., 718 F. Supp. 3d 1146, 1160–61 (N.D. Cal. 2024); Vance v.

Microsoft Corp., 534 F. Supp. 3d 1301, 1309 (W.D. Wash. 2021). It is “insufficient to

allege, without more, that a company used biometric data to improve its

technologies.” See Delgado, 718 F. Supp. 3d at 1160–61. Vance summarized the

concern as follows:


10 This analysis does not affect the Court’s earlier conclusion that plaintiffs adequately stated

the collection of their biometric identifiers under Section 15(b). Plaintiffs allege that
defendants collect more than their underlying videos. For instance, they allege that
defendants also generate “face geometry scans” from the videos of CapCut users, [22] ¶ 320,
and “scan[s] of … face geometry” are explicitly listed under BIPA’s definition of “biometric
identifiers.” 740 Ill. Comp. Stat. 14/10.
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      Taken to its logical end, Plaintiffs’ reading of § 15(c) would prohibit the
      sale of any product containing biometric technology because any such
      feature had to be developed or built with biometric data. … For instance,
      a company could not sell biometric timekeeping systems—or any
      product with a biometric feature—because it was presumably developed
      using biometric data. Similarly, no company could use that biometric
      timekeeping system because it uses employees’ biometric data to
      streamline operations and decrease costs. Nothing—not BIPA’s
      statutory language, its stated intent, or any authority analyzing
      § 15(c)—supports such a broad reading.

534 F. Supp. 3d at 1308 (internal citation omitted).

      So where does that leave the meaning of “otherwise profit”? As Vance reasoned,

“otherwise profit” should be “interpreted in light of the terms that precede it: sell,

lease and trade,” which all “contemplate a transaction in which an item is given or

shared in exchange for something of value.” Id. at 1306; see also Circuit City Stores,

Inc. v. Adams, 532 U.S. 105, 114–15 (2001) (according to the ejusdem generis tool of

statutory construction, general words following specific words “embrace only objects

similar in nature to those objects enumerated by the preceding specific words”). Thus,

“while ‘profit’ may have a broader ‘ordinary meaning,’” “otherwise profit”

encompasses “commercial transactions—such as a sale, lease or trade—during which

the biometric data is transferred or shared in return for some benefit.” Id. at 1307.

Applying that definition, none of plaintiffs’ theories suggests defendants “benefited

from” using plaintiffs’ biometric data in a for-profit commercial transaction.

      The Court is not swayed by plaintiffs’ citation to Flores. There, the defendant

used biometric data to develop a database that allowed customers to search for facial

matches. 2021 WL 232627, at *3. “[W]ithout the identified biometric data, there

would be no product to speak of.” Vance, 534 F. Supp. 3d at 1309 (citing Flores, 2021

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WL 232627, at *3). Here, plaintiffs have not alleged that defendants’ video-editing

business model relies on the collection of plaintiffs’ biometric data and not the

underlying videos. See id. (distinguishing Flores because plaintiffs had “not alleged

that the biometric data is itself so incorporated into Microsoft’s product that by

marketing the product, it is commercially disseminating the biometric data”).

      Accordingly, to the extent Count XIV relies on Section 15(c) of BIPA, the count

is dismissed.

          b. Section 15(d)

      Plaintiffs claim defendants violated Section 15(d) of BIPA, which “prohibits a

private entity in possession of biometric data from disclosing or disseminating that

data except in certain circumstances, such as obtaining a subject’s consent.”

Patterson, 593 F. Supp. 3d at 816 (citing 740 ILCS 14/15(d)). Plaintiffs allege that

defendants “disseminated” their biometric data by (1) making the data accessible to

the CCP, (2) trading user data with entities within ByteDance, and (3) storing the

data on separate servers to use in developing patents and artificial technologies.

      As for the first theory, for the same reasons discussed in the SCA context, the

Court finds plaintiffs’ allegations related to data-sharing with the CCP too

speculative to state a plausible claim for relief. See supra at 21–23. Plaintiffs’ second

theory fails for the reason already discussed with regard to their Section 15(c) claim:

plaintiffs have not alleged that they “trade” biometric data with ByteDance’s

subsidiaries like TikTok. See supra at 43–44. Plaintiffs allege defendants “disclosed”

and “disseminated” plaintiffs’ “biometric identifiers,” [22] ¶ 310, but they do not



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specify with whom defendants shared the information. Such a conclusory allegation

does not suffice. And with respect to plaintiffs’ third theory, none of the allegations to

which plaintiffs point actually state that their personal data, let alone their biometric

data, is disseminated to third parties via a server. [36] at 41. Owing to this lack of

detail, plaintiffs’ complaint falls short.

       Accordingly, to the extent Count XIV relies on Section 15(d) of BIPA, the count

is dismissed.

          c. Section 15(e)

       Section 15(e) of BIPA requires entities to “store, transmit, and protect from

disclosure all biometric identifiers and biometric information using the reasonable

standard of care within the private entity’s industry.” 740 ILCS 14/15(e).

       To state a claim under Section 15(e), a plaintiff must, at the very least, allege

what the industry standard of care is and how a defendant’s practices fell short of

that standard. See Delgado, 718 F. Supp. 3 at 1161 (dismissing plaintiff’s

Section 15(e) claim because the “complaint provide[d] no allegations regarding how

Meta stores biometric data or how its practices fail[ed] to comply with the reasonable

standard of care”). Plaintiffs’ complaint contains no allegations describing the

industry standard of care. And, other than merely repeating the allegations already

used to support their claims under other BIPA provisions (several of which the Court

has just rejected), plaintiffs’ complaint does not offer any insight into how defendants’

practices differed from the standard.




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      Accordingly, to the extent Count XIV relies on Section 15(e) of BIPA, the count

is dismissed.

                                     CONCLUSION

      The Court grants in part and denies in part defendants’ motion to dismiss. [30].

To summarize: Plaintiffs have sufficiently stated violations of their privacy rights

under the California Constitution (Count VI); intrusion upon seclusion (Count VII),

larceny (Count XI), and conversion (Count XII) under California law; and BIPA

(Count XIV), subject to the limitations detailed above. The remaining claims are

dismissed without prejudice, except for the Count II VPPA claim, which is dismissed

with prejudice.

      The Court grants plaintiffs leave to file a second amended complaint on or

before 4/2/25 if they can cure the deficiencies with these claims while still complying

with their Rule 11 obligations. See Runnion ex rel. Runnion v. Girl Scouts of Greater

Chic. & Nw. Ind., 786 F.3d 510, 519–20 (7th Cir. 2015). If plaintiffs elect not to file a

second amended complaint by 4/2/25, the dismissal will convert to a dismissal with

prejudice.

      Assuming a second amendment is filed, the parties are directed to appear for

an in-person status hearing on 4/17/25 at 9:30 a.m.to discuss next steps in the case.

One week before the status hearing, on 4/10/25, the parties are directed to file a joint

status report with a proposed discovery plan and discussing the parties’ interest in

pursuing settlement.




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                                            ___________________________
                                            Georgia N. Alexakis
                                            United States District Judge

Date: 3/3/25




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